   Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 1 of 35                    PageID #: 15

                                                                                              A
    STATE OF MAINE                                                    SUPERIOR COURT
    SOMERSET,ss                                                       CIVIL ACTION
                                                                      DOCKET NO.2021-19


NATHAN SAUNDERS,and JUDY HOOK,
individually and on behalf of all others similarly       :
situated,

                        Plaintiff,
                                                         •
                        v.
                                                         •
SAPPI NORTH AMERICA,INC. F/K/A S.D.                      :   FIRST AMENDED CLASS ACTION
WARREN COMPANY,S.D. WARREN                               :   COMPLAINT
COMPANY,SAPPI LTD.,SCOTT PAPER                           •
COMPANY,KIMBERLY-CLARK                                   •   JURY TRIAL DEMANDED
CORPORATION,UPM — ICYMMENE,INC.,
NORTHERN SC PAPER CORPORATION,                           •
PERRY VIDEX,LLC,INFINITY ASSET
SOLUTIONS,NEW MILL CAPITAL LLC,                          •
GO LAB,INC., HUHTAMAKI OYJ,
HUHTAMAKI,INC.,INTERNATIONAL
PAPER COMPANY,VERSO
CORPORATION,PIXELLE SPECIALITY                           •
SOLUTIONS,and PINE TREE WASTE,INC.                       •
D/B/A CENTRAL MAINE DISPOSAL.

                         Defendants.



           Plaintiffs, Nathan Saunders and Judy Hook ("Plaintiffs"), individually and on behalf of a

    proposed class of all other similarly situated persons ("Class Members" or the "Class"), sues

    Defendant Sappi North America, Inc., f/k/a S.D. Warren Company ("Sappi"), S.D. Warren

    Company ("S.D. Warren"), Sappi LTD,("Sappi LTD"), Scott Paper Company ("Scott Paper"),

    Kimberly-Clark Corporation ("Kimberly-Clark"), UPM — Kynunene, Inc. ("UPM"), Northern

    SC Paper Corporation, ("Northern Paper") Perry Videx, LLC ("Perry Videx"), Infinity Asset

    Solutions ("Infinity"), New Mill Capital LLC ("New Mill Capital"), Go Lab, Inc. ("Go Lab"),




                                                     1
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 2 of 35                         PageID #: 16




 Huhtamaki Oyj ("Huhtamaki Oyj"), Huhtamaki, Inc ("Huhtamaki"), International Paper

 Company ("International Paper"), Verso Corporation ("Verso"), Pixelle Speciality Solutions

("Pixelle"), and Pine Tree Waste, Inc. clib/a Central Maine Disposal ("Pine Tree")(collectively

"Defendants") based on personal knowledge, investigation of counsel and review of public

 documents and information, alleges as follows:

                                         INTRODUCTION

         1.     Plaintiffs bring this class action against Defendants for the claims set forth below

 resulting from then' intentional, knowing, reckless and/or negligent acts and omissions in

 connection with the discharge, distribution, disposal and/or spraying of per- and polyfluoroalkyl

 substances and their constituents ("PFAS"), including the resultant contamination of real

 property owned, and drinking water supplies owned and used, by the Plaintiffs and Class

 Members.

                                              PARTIES

        2.      Plaintiff, Nathan Saunders, is a citizen of Maine and owner-occupier of the real

 property located at 30 Howe Road, Fairfield, Maine 04937. As a result of Defendants' conduct,

 including their operations at the Somerset, Winslow, Madison, Androsgoggin, Bucksport and

 Huhtamaki Mills (collectively "the Mills"), Nathan Saunders and his real property have been

 contaminated by egregiously high and plainly dangerous levels of PFAS. Nathan Saunders seeks

 relief on behalf of himself and as representative of all others who are similarly situated.

        3.      On January 13, 2021, the private drinlcing water well located at 30 Howe Road,

 Fairfield, Maine 04937, was sampled by the State of Maine, and analytical results from this

 sampling showed the well to be contaminated with PFAS at more than 12,910 parts per trillion

("ppt") — nearly 185 times greater than the United States Environmental Protection Agency




                                                  2
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 3 of 35                      PageID #: 17




 ("EPA") Health Advisory limit of 70 ppt. As a result of the contamination of Nathan Saunders'

 private drinking water well, groundwater, and soil, Nathan Saunders has suffered, amongst other

 damages set out herein, diminution in property value, loss of use and enjoyment of property,

 annoyance, upset, aggravation, inconvenience and the necessity for long-term medical

 monitoring.

        4.      Plaintiff, Judy Hook, is a citizen of Maine and owner-occupier of the real property

 located at 48 Gibson Road, Clinton, Maine 04927. As a result of Defendants' conduct, Judy

 Hook and her real property have been contaminated by egregiously high and plainly dangerous

 levels of PFAS. Judy Hook seeks relief on behalf of himself and as representative of all others

 who are similarly situated.

        5.      Upon information and belief, the private drinking water well located at 48 Gibson

 Road, Clinton, Maine 04927 is contaminated with PFAS.

        6.      Defendant Sappi is a wholly owned subsidiary of Sappi LTD. Sappi is a

 corporation organized under the laws of, and existing in, the Commonwealth of Pennsylvania,

 with its principal place of business located at 225 State Street, Boston, Massachusetts 02109.

        7.      Defendant S.D Warren Company is a corporation organized under the laws of,

 and existing in, the Commonwealth of Pennsylvania, with its principal place of business located

 at 225 State Street, Boston, Massachusetts. Upon information and belief, S.D. Warren was a

 wholly owned subsidiary of Scott Paper Company from 1967 to 1995 when it was sold to Sappi

 LTD.

        8.     Sappi and/or S.D. Warren currently owns and operates the Somerset Mill, a 2,500

 acre plant that manufactures paper, bleached chemical pulp, and biosolids, located at 1329

 Waterville Road, Skowhegan, Maine 04976.




                                                 3
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 4 of 35                      PageID #: 18




        9.      Defendant Sappi LTD is a foreign company organized under the laws of, and

 existing in, the country of South Africa, with its principal place of business located in Rosebank,

 Johannesburg, South Africa.

        10.     Upon information and belief, Sappi LTD acquired all or substantially all of the

 Somerset Mill's manufacturing assets from Scott Paper Company in 1995, and continued to

 produce paper and paper products using and disposing, among other substances, PFAS, in

 essentially the same manner as all previous owners and operators of the Somerset Mill including,

 but not limited to, Scott Paper Company.

        1 1.    Defendant Scott Paper Company is a corporation organized under the laws of, and

 existing in, the State of Delaware, with its principal place of business located at 351 Phelps

 Drive, Irving, Texas 75038. Upon information and belief, Scott Paper Company was the owner

 of S.D. Warren from 1967 until 1995 when S.D Warren was sold to Sappi LTD.

        12.     Upon information and belief, Scott Paper Company was the owner of S.D.

 Warren from 1967 until 1995 when S.D Warren was sold to Sappi LTD.

        13.     Defendant Kimberly-Clark is a corporation organized under the laws of, and

 existing in, the State of Delaware, with its principal place of business located at 351 Phelps

 Drive, Irving, Texas 75038. Upon information and belief, Scott Paper Company was a wholly

 owned subsidiary of Kimberly-Clark at all times material hereto.

        14.     Upon information and belief, from 1967 to the present, in respect of the

 ownership and operation ofthe Somerset Mill, S.D. Warren:

               a. was insufficiently capitalized and maintained insufficient assets, including

                   liability insurance coverage, considering the conduct alleged more fully

                   herein;




                                                 4
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 5 of 35                        PageID #: 19




                b. was intermingling funds between itself and the personal and/or corporate

                    assets of the Scott Paper Company,Kimberly Clark, Sappi or Sappi LTD;

                c. failed to have any functioning officers, directors, members and managers;

                d. failed to observe corporate formalities evidencing a distinction in fact between

                    itself and the other Defendants;

                e. was a mere instrumentality of the other Defendants in the commission of the

                    conduct alleged more fully herein; and/or

                f. was maintained and utilized for the express or implied purpose of committing

                    negligent, careless, reckless, willful, wanton and malicious acts of

                    wrongdoing with impunity by attempting to insulate the other Defendants

                    from potential liability in connection with the conduct alleged more fully

                    herein, thereby exposing Plaintiffs and all others similarly situated to unjust

                    losses and damages.

        15.     Upon information and belief, Scott Paper Company was also the owner of the

 now demolished Winslow Paper Mill, a plant that manufactured paper, bleached chemical pulp,

 and biosolids using or containing PFAS, located in Winslow, Maine 04901, from 1950 to 1995

 when it was sold to Kimberly-Clark. Kimberly-Clark thereafter owned and operated the Winslow

 Paper Mill until 1997 when it was dismantled.

        16.     Defendant Huhtamaki Oyj is a foreign company organized under the laws of, and

 existing in, the country of Finland, with its principal place of business located in Espoo, Finland.

        17.     Defendant Huhtamaki is a wholly owned subsidiary of Huhtamaki Oyj.

 Huhtamaki is a corporation organized under the laws of, and existing in, the state of Delaware,

 with its principal place of business located at 9201 Packaging Drive, De Soto, Kansas 66018.




                                                  5
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 6 of 35                    PageID #: 20




        18.    Huhtamaki currently owns and operates the Huhtamaki facility, a plant that

 manufactures paper and paper products using and disposing of, among other substances, PFAS,

 located at 242 College Avenue, Waterville, Maine 04903.

        19.    The Huhtamaki facility, was originally constructed, owned, and operated by

 Keyes Fibre Company from 1903 to 1927 when it was purchased by Rex Pulp Products

 Company. Thereafter, Rex Pulp Products Company assumed Keyes Fibre Company's name.

        20.    Rex Pulp Products Company d/b/a Keyes Fiber Company, owned and operated

 the Huhtamaki facility until 1978, when it was purchased and merged with ANC, Inc. which

 assumed Keyes Fibre Company's name.

        21.    ANC, Inc. d/b/a Keyes Fiber Company, owned and operated the Huhtamaki

 facility until 1981, when it was purchased by Van Leer Packaging.

        22.    Van Leer Packaging owned and operated the Huhtamaki facility from 1981 until

 it was bought, and merged with Huhtamaki in 1999. Thereafter, Huhtamaki was known as

 Huhtamaki — Van Leer until 2001, when it changed its name to Huhtamaki Oyj.

        23.    Huhtamaki Oyj and Huhtamaki, Inc. continued to produce paper and paper

 products using and disposing, among other substances, PFAS, in essentially the same manner as

 all previous owners and operators of the Huhtamaki Facility including, but not limited to, Keyes

 Fibre Company.

        24.    Defendant UPM-Kymmene, Inc. is a foreign company organized under the laws

 of, and existing in, the country of Finland, with its principal place of business located in

 Helsinki, Finland.




                                                6
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 7 of 35                       PageID #: 21




        25.     Defendant Northern SC Paper Corporation is a corporation organized under the

 laws of, and existing in, the state of Delaware, with its principal place of business located at 620

 Eighth Avenue, 18th Floor, New York, New York 10018.

        26.     Defendant Perry Videx, LLC is a company organized under the laws of, and

 existing in, the state of New Jersey, with its principal place of business located at 25 Mount

 Laurel Road, Hainesport, New Jersey 08036.

        27.     Defendant Infinity Asset Solutions is a foreign company organized under the laws

 of, and existing in the country of Canada, with its principal place of business located at 63

 Maplecrete Road, Concord, Ontario.

        28.     Defendant New Mill Capital, LLC is a company organized under the laws of, and

 existing in the state of Delaware, with its principal place of business located at 575 Lexington

 Avenue, 4th floor, New York, New York 10022.

        29.     Upon information and belief, in 2019, Defendants Perry Videx, Infinity, and New

 Mill sold Madison Paper Industries Mill to Go Lab,Inc.

        30.     Defendant Go Lab, Inc. is a corporation organized under the laws of, and existing

 in Delaware with a principal place of business located at 137 High Street, Belfast, Maine 04915.

        31.     Defendants Northern Paper and UPM,jointly owned and operated the Madison

 Paper Industries Mill that manufactures paper, bleached chemical pulp, and biosolids using or

 containing PFAS, located on Maine Street, Starks, Maine 04911 from 1980 to 2016 when the

 Madison Paper Industries Mill was sold to Perry Videx, Infinity Asset Solutions, and New Mill

 Capital. Perry Videx, Infinity Asset Solutions and New Mill Capital in turn owned and operated

 the Madison Paper Industries Mill until 2019 when they sold the same to Go Lab. Upon




                                                 7
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 8 of 35                     PageID #: 22




 information and belief, Go Lab is the current owner and operate of the Madison Paper Industries

 Mill.

         32.    Defendant International Paper is a corporation organized under the laws of, and

 existing in, the State of New York, with its principal place of business located at 6400 Poplar

 Ave, Memphis, Tennessee 38197.

         33.    Defendant Verso Corporation is a corporation organized under the laws of, and

 existing in, the State of Delaware, with its principal place of business located at 8540 Gander

 Creek Dr, Miamisburg, Ohio 45342.

         34.    Defendant Pixelle Specialty Solutions is a company organized under the laws of,

 and existing in, the State if Ohio, with its principal place of business located at 228 S Main St,

 Spring Grove,Pennsylvania 17362.

         35.   In 1965, International Paper established the Androscoggin Paper Mill. Since that

 time, Androscoggin Mill has manufactured paper, bleached chemical pulp, and biosolids, and is

 located at 300 Riley Road, Jay, Maine 04239.

         36.   In •1930, Maine Seaboard Paper Company established the Bucksport Paper Mill

 located at 2 River Road, Bucksport, Maine 04416. From 1930 until 2014, Bucksport Mill

 manufactured paper, bleached chemical pulp, and biosolids.

         37.   By 1947, the Bucksport Mill was under the control of St. Regus Paper Company,

 and remained so until 1984, when St. Regis Paper Company merged with and into Champion

 International Corp.

         38.   International Paper bought Champion International Corp. and acquired all or

 substantially all of the Bucksport Mill's manufacturing assets from Champion International

 Corp. in 2000, and continued to produce paper and paper products using and disposing, among




                                                 8
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 9 of 35                        PageID #: 23




 other substances, PFAS, in essentially the same manner as all previous owners and operators of

 the Bucksport Mill including, but not limited to, Champion International Corp.

        39.     Verso bought all of International Paper's coated paper producing mills, including

 all or substantially all of the Bucksport and Androscoggin Mill's manufacturing assets from

 International Paper in 2006, and continued to produce paper and paper products using and

 disposing, among other substances, PFAS, in essentially the same manner as all previous owners

 and operators of the Bucksport and Androscoggin Mills including, but not limited to,

 International Paper.

        40.     In 2019, Pixelle Specialty Solutions acquired Androscoggin Mill, including all or

 substantially all of the Androscoggin Mill's manufacturing assets from Verso, and continued to

 produce paper and paper products using and disposing, among other substances, PFAS, in

 essentially the same manner as all previous owners and operators of the Androscoggin Mills

 including, but not limited to, Verso.

        41.     Defendant Pine Tree is a domestic corporation organized under the laws of, and

 existing in, the state of Maine, with its principal place of business located at 25 Greens Hill Lane,

 Rutland, Vermont 05701. Upon information and belief, Pine Tree owned, controlled, and

 operated a landfill in Fairfield, Somerset County, Maine, formerly owned by Central Maine

 Disposal Corporation and contracted with the other Defendants to retain and dispose of PFAS-

 containing biosolids from the Mills and elsewhere at said landfill.

        42.     Defendant Pine Tree is the successor in interest to Central Maine Disposal and

 has assumed its rights, duties, and liabilities. Pine Tree continued to contract with the other

 Defendants to retain and dispose, among other substances, PFAS, in essentially the same manner

 as all previous owners and operators of Central Maine Disposal landfill.




                                                  9
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 10 of 35                       PageID #: 24




                                 JURISDICTION AND VENUE

        43.     This Court has jurisdiction over this action pursuant to 14 M.R.S.A. § 704-A.

        44.     Venue properly lies in this Court pursuant to 14 M.R.S. § 505.

        45.     This Court has jurisdiction over the parties because, the Defendants resided,

 transacted business, were found, or had agents in the State of Maine, and because a substantial

 part ofthe events giving rise to Plaintiffs claims occurred in the State of Maine.

        46.     On information and belief, Defendants have systematically transacted and

 conducted business in the State of Maine, and these causes of action arise, in part, from the same.

        47.     On information and belief, at all relevant times, Defendants expected or should

 have expected that their acts would have consequences within the United States of America and

 the State of Maine.

        48.     On information and belief, at all relevant times, Defendants derived and continue

 to derive substantial revenue from their financial activities in the State of Maine including, but

 not limited to, the operation of the Mills, and the sale, distribution or spreading of substances

 containing PFAS throughout the State of Maine.

        49.     On information and belief, at all relevant times, Defendants committed tortious

 acts within the State of Maine causing injury within the State of Maine, out of which act(s) these

 causes of action arise.

        50.     This action is non-removable because there is incomplete diversity of residents

 and no substantive federal question is presented.




                                                 10
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 11 of 35                               PageID #: 25




                                      FACTUAL ALLEGATIONS

                                    Chemical Characteristics ofPFAS

         51.     Per- and polyfluoroallcyl compounds are wholly synthetic chemicals that do not

 exist in nature.

         52.     There are numerous chemicals in the PFAS family, two of which are

 perfluorooctanesulfonic acid("PFOS")and perfluorooctanoic acid ("PFOA").

         53.     PFOS and PFOA have been widely used in industrial processes and in

 commercial products due to their propensity to repel water, dirt, oil, and grease.

         54.     PFOS and PFOA have unique properties that make them persistent, bio-

 accumulative, and toxic.

         55.     PFOS and PFOA can persist in the environment indefinitely due to the strength of

 multiple carbon-fluorine bonds. In other words,PFOS and PFOA break down very slowly in the

 environment, if at all, earning them the nickname "forever chemicals."

         56.     Indeed, PFOS and PFOA are thermally, chemically, and biologically stable, and

 therefore resistant to biodegradation, atmospheric photooxidation, direct photolysis, and

 hydrolysis.

         57.     PFOS and PFOA are also water soluble, making them mobile in groundwater and

 the environment. Further, because PFOS and PFOA repel organic materials, they readily leach

 through soil, impacting groundwater.

         58.     Typical water treatment systems did not and do not filter PFOS and PFOA from

 contaminated water due to the chemicals' physical and chemical properties.'




 I Just under half(49%) of Maine's citizens are served water by Community Water Systems, which are regulated
 under the federal Safe Drinking Water Act administered through Maine CDC's Drinking Water Program (DWP) —
 the remaining 51% obtain their drinking water from residential wells that are not subject to federal or state


                                                      11
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 12 of 35                            PageID #: 26




         59.     Similarly, chlorine and other disinfectants that are typically added to drinking

  water systems did not and do not remove PFOS or PFOA from contaminated water.

         60.     Compounding the fact that PFOS and PFOA are notoriously difficult to remove

 from contaminated water supplies, toxicology studies have shown that PFOS and PFOA are

 readily absorbed after oral exposure and accumulate primarily in the serum, kidney, and liver.

         61.     What is more, PFOS and PFOA have a half-life within the human body of

 anywhere from 2 to 9 years, and the chemicals are known to cross the placenta from mother to

 fetus and can be passed to infants through breast milk.

         62.     These characteristics contribute to a number of health risks associated with

 exposure to PFOS and PFOA, and these risks are present even when PFOS and PFOA are

 ingested at seemingly low levels.

         63.     PFOS and PFOA exposure is associated with, among other injuries, increased risk

 in humans of cancer, including, but not limited to, kidney and reproductive cancers. PFOS and

 PFOA have also been linked with other physical injuries, diseases and disorders including, but

 not limited to thyroid disease, high cholesterol, ulcerative colitis, pregnancy-induced

 hypertension, and preeclampsia, as well as reduced immunological functions including decreased

 responsiveness to vaccines. PFOS and PFOA have a high latency period meaning that injuries

 can manifest years after exposure to the chemicals.




 regulation or testing requirements. Tipton, Meredith, Managing PFAS in Maine - Final Report from the Maine
 PFAS Task Force §(2020).




                                                    12
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 13 of 35                             PageID #: 27




   The Defendants'Discharge, Distribution, and Spreading ofPFAS Throughout Somerset and
                                     Kennebec Counties

        64.     PFAS have been used in paper and cardboard food packaging since the 1950s,

 mostly as coatings to prevent the paper material from soaking up fats and water, but also in

 printing inks and as moisture barriers.

       -65.     PFAS treated paper is a barrier or repellent against grease, stains and water to

 keep the migration of grease and water from the food to acceptable levels during transport,

 storage and consumption of the food.

        66.     Upon information and belief, at all times material hereto, and since at least 1967,

 Defendants have each used PFAS in making treated paper products for food packaging and other

 applications at the Mills.

        67.     This PFAS treated paper is made to repel oil and grease in food packaging such as

 pizza boxes, sandwich wrappers, and microwave popcorn bags, as well as other applications.

        68.     In fact, upon information and belief, the Mills have at all times specialized in

 producing PFAS-treated paper products.

        69.      Upon information and belief, the processes employed by the Defendants between

 1967 and the present in producing these PFAS-treated paper products create PFAS residuals or

 byproducts that have been directly discharged into the surrounding groundwater and surface

 waters where they migrate and cause contamination.

        70.      Moreover, for every pound of PFAS that is directly discharged into surrounding

 water sources, nine pounds of PFAS end-up in paper mill sludge, also known as biosolids, that

 are either sent to landfills, used as fuel, or repurposed and distributed as fertilizer.

        71.      Indeed, upon information and belief, in addition to directly discharging PFAS,

 the Defendants each: (1) disposed of PFAS-containing biosolids in landfills; (2) sold or


                                                    13
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 14 of 35                      PageID #: 28




 distributed PFAS-containing biosolids for fuel or fertilizer; and (3) sprayed PFAS-containing

 fertilizer.   Each of these activities occurred throughout Somerset and Kennebec Counties

 between at least 1967 and the present, poisoning the water, the soil, the animals, the plants, and

 ultimately, the people therein.

                       PFAS Contamination in Somerset and Kennebec County

         72.     Upon information and belief, Defendant Pine Tree Waste, Inc., illegally and/or

 negligently disposed of 40,000 cubic yards of PFAS-containing biosolids from the Mills every

 year from at least 1976 until 1984 in landfills, owned, operated and controlled by Pine Tree in

 Fairfield, Maine.

         73.     In late 2016,PFAS chemicals were found to be present at levels up to 1,420 ppt in

 the milk of a Maine dairy farm that had historically applied municipal wastewater and papermill

 residuals to its fields.

         74.     Also in 2016, paper mill .sludge was found to have contaminated a century old

 dairy farm in Arundel, Maine, after the nearby Kennebunk, Kennebunkport and Wells Water

 Districts found elevated levels ofPFAS in a well on the property.

         75.     In response to these early reports of isolated contamination, Maine's Department

 of Environmental Protection ("DEP") required testing of wastewater treatment plants and

 papermill residuals, like biosolids, prior to land spreading as fertilizer, as well as testing of

 finished compost produced from these same residuals. This testing indicated that:

         65% of residuals like biosolids exceeded screening levels for PFOA, and 93% exceeded
         the same levels for PFOS;

         89% of finished compost samples exceeded the screening level for PFOA, and 74%
         exceeded the same level for PFOS; and

         19% offields tested following spraying of biosolids exceeded the soil screening levels for
         PFOA,and 57% exceeded the levels for PFOS.


                                                 14
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 15 of 35                      PageID #: 29




        76.     In February 2020, Maine's Department of Agriculture, Conservation and Forestry

 again found that milk from a dairy farm in Somerset County had levels of PFOA that were

 higher than the limit of 210 ppt set by the state. Specifically, the milk from the farm revealed

 levels of 12,700, 14,900 and 32,200 ppt — the highest ever recorded in milk in the United States.

        77.     These results prompted additional testing throughout Maine and Somerset County

 which, as of December 2020, revealed that at least eighteen private wells in Fairfield, Maine,

 have levels ofPFAS higher than the 70 ppt limit set by EPA.

        78.     Nathan Saunders is the owner of one such private well, and has only recently

 learned that his drinking water has been contaminated with extremely dangerous levels of PFOS

 and PFOA totaling at least 12,910 ppt.

        79.     Upon information and belief, Maine Department of Environmental Protection and

 or the Maine Department of Agriculture, Conservation and Forestry have also found signifigant

 levels of PFAS in farms in and around the town of Clinton in Kennebec County near private

 residential wells including Judy Hook's private well.

        80.     Upon information and belief, PFAS-contianing biosolids were spread by the

 owners and operators of the mills, throughout Somerset and Kennebec Counties.

        81.     Upon information and belief, International Paper spread at least 93,594 tons of

 PFAS-containing biosolids throughout Maine, and Kennebec County specifically, from 1988

 until 1998.

        82.     Upon information and belief, from 2013-2015, Verso Paper deposited at least

 46,234 tons of PFAS-containing biosolids tluoughought Kennebec County.

        83.     Upon information and belief, Kimberly Scott deposited PFAS containing

 biosolids into the Unity Township landfill in Kennebec County.



                                                 15
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 16 of 35                      PageID #: 30




        84.     Upon information and belief, PFAS containing biosolids from Winslow Mill and

 Sappi Mills were deposited upon Defendants' properties adjacent to the Kennebec River, where

 it would leach into the surface waters of the Kennebec river.

        85.     In addition, Nathan Saunder's private well sampling revealed excessive

 concentrations of other PFAS chemicals, including perfluorononanoic acid ("PFNA"),

 perfluorodecanoic acid ("PFDA"), perfluorohexanoic acid ("PFHxA"), and perfluoroheptanoic

 acid ("PFHpA"). The combined PFAS concentratiqns in Plaintiff's drinking water supplies

 exceeds 20,000 ppt.

        86.     Extremely high levels of PFAS contamination of groundwater typically occur in

 areas where:(1) commercial operations use PFAS in their manufacturing processes and release

 or discharge PFAS wastes directly on site;(2)PFAS materials are disposed in landfills or other

 off-site disposal grounds, from which PFAS compounds then leach or escape into groundwater;

 or(3)PFAS biosolids have been sold and spread as fertilizer on agricultural land.

        87.     Plaintiffs and the other Class Members have owned property or resided in

 Somerset County and/or Kennebec County during the time Defendants have been engaging in

 precisely these types of activities involving PFAS, thereby causing widespread contamination

 and actually exposing the community to toxic levels of the chemicals that.are known to cause

 debilitating and catastrophic illnesses and diseases.

                                CLASS ACTION ALLEGATIONS

        88.     Plaintiffs seek relief on behalf of himself and as representative of all others who

 are similarly situated. Pursuant to Maine Rules of Civil Procedure 23(a),(b)(2),(b)(3) and (c)(4),

 Plaintiffs seek certification of a class defined as follows:




                                                   16
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 17 of 35                      PageID #: 31




        all natural persons who lived or owned property in Somerset County or Kennebec

        County, Maine, for a period of one(1) year or more at any time between 1967 and

        the present.

        89.     Excluded from the Class are Defendants and any of their affiliates, parents or

 subsidiaries; all employees of Defendants; all persons who have been currently diagnosed with

 cancer or illness, disease or disease process of the kind caused by PFAS; all persons who make a

 timely election to be excluded from the Class; government entities; and the judges to whom this

 case is assigned, their immediate families, and court staff.

        90.      Plaintiffs hereby reserves the right to amend or modify the class definition with

 greater specificity or division after having had an opportunity to conduct discovery.

        91.     The proposed Class meets the criteria for certification under Me. R. Civ. P. 23(a),

(b)(2),(b)(3) and (c)(4).

        92.     Numerosity. Me. R. Civ. P. 23(a)(1).            Consistent with Rule 23(a)(1), the

 Members of the Class are so numerous and geographically dispersed that the joinder of all

 Members is impractical. While the exact number of Class Members is unknown to Plaintiffs at

 this time, the proposed Class includes tens of thousands of current and former residents and

 property owners who were unlawfully exposed to PFAS. Class Members may be notified of the

 pendency of this action by recognized, court-approved notice dissemination methods, which may

 include U.S. mail, electronic mail, intern& postings, and/or published notice.

        93.     Commonality. Me. R. Civ. P. 23(a)(2) and (b)(3).             Consistent with Rule

 23(a)(2) and with 23(b)(3)'s predominance requirement, this action involves common questions

 of law and fact that predominate over any questions affecting individual Class Members. The

 common questions include:




                                                  17
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 18 of 35                     PageID #: 32




           a.      Whether Defendants' conduct was negligent;

           b.      Whether Defendants' conduct constitutes a public nuisance;

           c.      Whether Defendants' conduct constitutes an abnormally dangerous activity;

           d.      Whether Defendants owed a duty of care to Class Members;

           e.      Whether the duty of care owed to the Class included the duty to protect

                   against exposures to unsafe and unnecessarily high levels ofPFAS;

          f.       Whether Defendants breached their duty to warn the Class of, and protect the

                   Class from, the long-term health risks and consequences of exposure to high

                   levels ofPFAS;

          g-       Whether medical monitoring and early detection will provide benefits to

                   Members of the Class;

           h.      Whether the PFAS contamination described herein substantially interfered

                   with Plaintiffs' and Class Members' use and enjoyment of their property;

          i.       Whether the PFAS contamination described herein caused, and continues to

                   cause, a continuous invasion ofthe property rights of Plaintiffs and the Class;

          j.       Whether Defendants caused the devaluation of the Plaintiffs and Class

                   Members' properties;

          k.       Whether Defendants caused PFAS to enter, invade, intrude upon or injure the

                   property rights ofPlaintiffs and the Class; and

          1.       Whether Plaintiffs and Class Members are entitled to relief.

        94.     Typicality. Me. R. Civ. P. 23(a)(3). Consistent with Rule 23(a)(3), Plaintiffs

 claims are typical of those of the putative Class Members. Plaintiffs are owner-occupiers of real

 property in Fairfield, Maine, within Somerset County, or property in Clinton, Maine, within




                                                18
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 19 of 35                        PageID #: 33




 Kennebec County, and have resided in the Class Zone for at least one year. Plaintiffs and their

 respective properties have had exposure to PFAS released by the Defendants in various forms, as

 have all other Class Members. That exposure has resulted in an increased risk of illness and

 disease in Plaintiffs, and a diminution in value to their real property, as it has for all Class

 Members.

        95.     Adequacy. Me. R. Civ. P. 23(a)(4). Consistent with Rule 23(a)(4), Plaintiffs are

 adequate representatives of the Class because Plaintiffs is a Member of the Class and is

 committed to pursuing this matter against Defendants to obtain relief for the Class. Plaintiffs

 have no conflicts of interest with the Class. Plaintiffs' Counsel are competent and experienced in

 litigating complex class actions and toxic torts, including claims for medical monitoring.

 Plaintiffs intend to vigorously prosecute this case, and they will fairly and adequately protect the

 interests of Class Members.

        96.     Superiority. Me. R. Civ. P. 23(b)(3). Consistent with Rule 23(b)(3), a class

 action is superior to any other available means for the fair and efficient adjudication of this

 controversy, and no unusual difficulties are likely to be encountered in the management of this

 class action. The quintessential purpose of the class action mechanism is to permit litigation

 against wrongdoers even when damages to individual plaintiffs may not be sufficient to justify

 individual litigation. Here, the damages suffered by Plaintiffs and the Class are relatively small

 compared to the burden and expense required to individually litigate their claims against the

 Defendants, and thus, individual litigation to redress Defendants' wrongful conduct would be

 impracticable. Individual litigation by each Class Member would also strain the court system.

 Individual litigation creates the potential for inconsistent or contradictory judgments and

 increases the delay and expense to all parties and the court system. By contrast, the class action




                                                 19
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 20 of 35                       PageID #: 34




 device presents far fewer management difficulties and provides the benefits of a single

 adjudication, economies of scale, and comprehensive supervision by a single court.

        97.     Injunctive and Declaratory Relief. Class certification is also appropriate under

 Rule 23(b)(2) and (c). Defendants, through their uniform conduct, acted or refused to act on

 grounds generally applicable to the Class as a whole, making injunctive and declaratory relief

 appropriate to the Class as a whole.

        98.     Likewise, particular issues are appropriate for certification under Rule 23(c)(4)

 because such claims present only particular, common issues, the resolution of which would

 advance the disposition of this matter and the parties' interests therein.

                                         COUNT I
                                    MEDICAL MONITORING

        99.     Plaintiffs repeat, realleges, and incorporates by reference all allegations of this

 Complaint as if set forth more particularly at length here.

        100.    Plaintiffs and Class Members have been actually and significantly exposed to

 levels of dangerous PFAS that are far higher than normal background levels. PFAS is a

 dangerous, toxic substance that has been proven to cause disease and illness in humans,

 including certain kidney and reproductive cancers.

        101.    Plaintiffs and the Class Members' actual and significant exposure to these

 dangerous levels of PFAS is the direct and proximate result of each of Defendants' intentional,

 willful, wanton, reckless or negligent acts or omissions in connection with the use, emission,

 discharge, disposal, distribution and spraying of PFAS throughout Somerset and Kennebec

 Counties.

        102.     As a direct and proximate result of each of Defendants' intentional, willful,

 wanton, reckless or negligent acts or omissions in connection with the use, emission, discharge,



                                                  20
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 21 of 35                          PageID #: 35




 disposal, distribution and spraying of PFAS throughout Somerset and Kennebec Counties,

 Plaintiffs and the Class Members are at an increased risk of developing cancer, and other illness,

 disease and disease processes, resulting in their present medical need for periodic diagnostic

 medical examinations.

        103.    Diagnostic testing for early detection of cancer and other illness, disease and

 disease processes caused by exposure to PFAS is reasonably and medically necessary to assure

 early diagnosis and effective treatment ofthe disease.

        104.    Plaintiffs and the Class Members have suffered the present harm of the need for

 the cost of diagnostic testing for the early detection of cancer and other illness, disease and

 disease processes. As a direct and proximate result of each of Defendants' intentional, willful,

 wanton, reckless or negligent acts or omissions in connection with the use, emission, discharge,

 disposal, distribution and spraying of PFAS throughout Somerset and Kennebec Counties,

 Plaintiffs and the Class Members require an award of the cost of a medical monitoring program

 necessary for early detection ofthe onset of illnesses, disease processes or disease.

        105.    Monitoring procedures exist that make possible the early detection of cancer, the

 disease processes of cancer, and the progression of biomarker abnormalities, and other illness,

 disease and disease processes. These monitoring procedures will benefit Plaintiffs and the Class

 Members, and they are different from what would normally be recommended in the absence of

 PFAS exposure. Such diagnostic testing is reasonably and medically necessary due to the

 exposure ofPlaintifsf and the Class Members to Defendants' PFAS emissions.

        106.    Plaintiffs and the Class Members' claims are based solely on the amount of

 exposure. to PFAS caused by the Defendants as aforesaid. Therefore, any alleged alternative




                                                 21
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 22 of 35                      PageID #: 36




 exposure, or prior medical or family history, is not a basis for Plaintiffs and the Class Member's

 claims in this case.

         107.   As a result, Plaintiffs and the Class should be awarded the quantifiable costs of

 such a monitoring regime. Plaintiffs and the Class Members also seek all other available and

 necessary relief in connection with this claim.

                                 COUNT II
                   ULTRAHAZARDOUS ACTIVITY/STRICT LIABILITY

        108.    Plaintiffs repeats, realleges, and incorporates by reference all allegations of this

 Complaint as if set forth more particularly at length here.

        109.    Defendants' use, emission, discharge, disposal, distribution and spraying ofPFAS

 throughout Somerset and Kennebec Counties constitutes an ultrahazardous activity.

        110.    Defendants' use, emission, discharge, disposal, distribution and spraying of PFAS

 throughout Somerset and Kennebec Counties is an abnormally dangerous activity and cannot be

 made safe by the exercise of the utmost care. The procedures utilized by Defendants in the use,

 emission, discharge, disposal, distribution and spraying of PFAS throughout Somerset and

 Kennebec Counties caused contamination of PFAS, which poses a high degree of risk to

 Plaintiffs and the Class Members.

        111.    PFAS toxicity, persistence in the environment and in the human body, and other

 properties pose an inherent and extraordinary danger of lasting contamination of property and of

 threats to human health.

        1 12.   The contamination of the property, drinking water, and bodies of Plaintiffs and

 the Class Members were all probable and foreseeable consequences that resulted from the

 Defendants' use, emission, discharge, disposal, distribution and spraying of PFAS throughout

 Somerset and Kennebec Counties.



                                                   22
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 23 of 35                       PageID #: 37




         113.   There is a reasonable likelihood that the Defendants' use, emission, discharge,

 disposal, distribution and spraying of PFAS throughout Somerset and Kennebec Counties will

 result in life-threatening cancer and other illness, disease and disease processes. This risk cannot

 be eliminated as long as PFAS is released into populated areas. Likewise, it was completely

 inappropriate for Defendant to engage in these activities in a populated area while at the same

 time causing large amounts of PFAS to be dispersed and purposefully distributed into the

 surrounding community.

        114.    Defendants' use, emission, discharge, disposal, distribution and spraying ofPFAS

 throughout Somerset and Kennebec Counties created a high degree of risk of harm to those who

 live in the surrounding area and substantially increased their risk of developing cancer and other

 illness, disease or disease processes.

        115.    The activities conducted by Defendants are exceedingly dangerous and offer little

 or no value to the surrounding community.

        116.    Because these activities are ultrahazardous, Defendants are strictly liable for any

 injuries proximately resulting therefrom.

        117.    As a direct and proximate result of Defendants' ultrahazardous activity and the

 exposure to PFAS resulting therefrom, Plaintiffs and the Class Members presently suffer, and

 will continue to suffer, real property damage, out of pocket expense, personal property damage,

 loss of use and enjoyment of property, diminution in property value, the necessity for long-term

 medical monitoring, annoyance, upset, aggravation and inconvenience.




                                                 23
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 24 of 35                         PageID #: 38




                                          COUNT III
                                      PRIVATE NUISANCE

         1 18.   Plaintiffs repeats, realleges, and incorporates by reference all allegations of this

 Complaint as if set forth more particularly at length here.

         1 19.   At all times relevant hereto, Defendants knew or should have known PFAS to be

 hazardous and harmful to real property and human beings, and it was substantially certain that

 their PFAS use, emission, discharge, disposal, distribution and spraying throughout Somerset

 and Kennebec Counties would cause injury to Plaintiff, the Class Members and their property.

         120.    Defendants, through the negligent, reckless and/or intentional acts and omissions

 alleged herein, have contaminated real property located in Somerset and Kennebec Counties and

 the surrounding area.

         121.    The Defendants' contamination of real property in Somerset and Kennebec

 Counties with PFAS has interfered with the rights ofPlaintiffs and the Class Members to use and

 enjoy their property. Indeed, this interference is substantial in nature. It has caused and is causing

 Plaintiffs and the Class Members to, among other things, refrain from using water to drink, cook,

 or bathe, which has, in turn, caused significant inconvenience and expense. Defendants' conduct

 has also substantially interfered with the Class Members' ability to enjoy their property, to avail

 themselves of their property's value as an asset and/or source of collateral for financing, and to

 use their property in the manner that each Class Member so chooses.

         122.    Defendants' negligent, reckless and/or intentional acts and omissions were

 unreasonable and constitute a continuous invasion of the property rights of Plaintiffs and the

 Class Members.

         123.    As a direct and proximate result of Defendants' use, emission, discharge,

 disposal, distribution and spraying of PFAS throughout Somerset and Kennebec Counties, and



                                                  24
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 25 of 35                       PageID #: 39




 the exposure to PFAS resulting therefrom, Plaintiffs and the Class Members presently suffer, and

 will continue to suffer, real property damage, out of pocket expense, personal property damage,

 loss of use and enjoyment of property, diminution in property value, the necessity for long-term

 medical monitoring, annoyance, upset, aggravation and inconvenience.

                                          COUNT IV
                                       PUBLIC NUISANCE

        124.     Plaintiffs repeat, realleges, and incorporates by reference all allegations of this

 Complaint as if set forth more particularly at length here.

        125.     At all times relevant hereto, Defendants knew or should have known PFAS to be

 hazardous and harmful to real property and human beings, and it was substantially certain that

 their PFAS use, emission, discharge, disposal, distribution and spraying throughout Somerset

 and Kennebec Counties would cause injury to Plaintiff, the Class Members and their property.

        126.     Plaintiffs and Class Members have a common right to enjoy their real property

 free of dangerous contamination and to live their lives without unreasonable exposure to toxic

 chemicals.

        127.     Defendants' unreasonable use, emission, discharge, disposal, distribution and

 spraying of PFAS throughout Somerset and Kennebec Counties substantially and unreasonably

 infringes upon and transgresses this public right.

        128.     Defendants knew or should have known that the levels of PFAS used, emitted,

 discharged, disposed, distributed and sprayed throughout Somerset and Kennebec Counties

 would have a deleterious effect upon the health, safety, and well-being of people living in the

 nearby areas.

        129.     Defendants' use, emission, discharge, disposal, distribution and spraying ofPFAS

 throughout Somerset and Kennebec Counties caused those who lived or owned property in



                                                 25
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 26 of 35                         PageID #: 40




 Somerset and Kennebec Counties to come into contact with high levels ofPFAS on a routine and

 constant basis, causing property damage and a substantially elevated risk of cancer.

         130.   As a direct and proximate result of the Defendants' use, emission, discharge,

 disposal, distribution and spraying of PFAS throughout Somerset and Kennebec Counties,

 Plaintiffs and the Class Members' common right to live free of dangerous, toxic substances was

 eliminated and/or severely diminished.

        131.    As a direct and proximate result of Defendants' use, emission, discharge,

 disposal, distribution and spraying ofPFAS throughout Somerset and Kennebec Counties, PFAS

 continuously invaded and contaminated the areas surrounding Plaintiffs and the Class Members,

 thereby exposing their properties and bodies to PFAS.

        132.    As a direct and proximate result of Defendants' use, emission, discharge,

 disposal, distribution and spraying of PFAS throughout Somerset and Kennebec Counties, and

 the exposure to PFAS resulting therefrom, Plaintiffs and the Class Members presently suffer, and

 will continue to suffer, real property damage, out of pocket expense, personal property damage,

 loss of use and enjoyment of property, diminution in property value, the necessity for long-term

 medical monitoring, annoyance, upset, aggravation and inconvenience.

                                         COUNT V
                                    STATUTORY NUISANCE

        133.    Plaintiffs repeat, realleges, and incorporates by reference all allegations of this

 Complaint as if set forth more particularly at length here.

        134.    17 M.R.S.A. § 2701 states that "[a]ny person injured in his comfort, property or

 the enjoyment of his estate by a common and public or a private nuisance may maintain against

 the offender a civil action for his damages ..."




                                                    26
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 27 of 35                         PageID #: 41




         135.   Under 17 M.R.S.A. § 2802, such nuisances include the "... use of any building or

 place for the exercise of a trade, employment or manufacture that, by noxious exhalation,

 offensive smells or other annoyances, [which] becomes injurious and dangerous to health,

 comfort or property of individuals or of the public ...", including, but not limited to, the tainting

 of wells, aquifers, rivers, streams or ponds.

         136.   At all times relevant hereto, Defendants knew or should have known PFAS to be

 hazardous and harmful to real property and human beings, and it was substantially certain that

 their PFAS use, emission, discharge, disposal, distribution and spraying throughout Somerset

 and Kennebec Counties would cause injury to Plaintiffs, the Class Members and their property.

         137.   Defendants, through the negligent, reckless and/or intentional acts and omissions

 alleged herein, have contaminated real property located in Somerset and Kennebec Counties and

 the surrounding area.

         138.   The Defendants' contamination of real property in Somerset and Kennebec

 Counties with PFAS has interfered with the rights of Plaintiffs and the Class Members to use and

 enjoy their property. Indeed, this interference is substantial in nature. It has caused and is causing

 Plaintiffs and the Class Members to, among other things, refrain from using water to drink, cook,

 or bathe, which has, in turn, caused significant inconvenience and expense. Defendants' conduct

 has also substantially interfered with the Class Members' ability to enjoy their property, to avail

 themselves of their property's value as an asset and/or source of collateral for financing, and to

 use their property in the manner that each Class Member so chooses.

         139.   Plaintiffs and Class Members also have a common right to enjoy their real

 property free of dangerous contamination and to live their lives without unreasonable exposure

 to toxic chemicals.




                                                  27
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 28 of 35                        PageID #: 42




         140.   Defendants' unreasonable use, emission, discharge, disposal, distribution and

 spraying of PFAS throughout Somerset and Kennebec Counties substantially and unreasonably

 infringes upon and transgresses this public right.

         141.   As a direct and proximate result of the Defendants' use, emission, discharge,

 disposal, distribution and spraying of PFAS throughout Somerset and Kennebec Counties,

 Defendants are liable for damages under 17 M.R.S.A. § 2701, including damages for real

 property damage, out of pocket expense, personal property damage, loss of use and enjoyment of

 property, diminution in property value, the necessity for long-term medical monitoring,

 annoyance, upset, aggravation and inconvenience

                                           COUNT VI
                                          NEGLIGENCE

        142.    Plaintiffs repeat=, realleges, and incorporates by reference all allegations of this

 Complaint as if set forth more particularly at length here.

        143.    Defendants owed Plaintiffs and Class Members a duty to use, emit, discharge,

 dispose, distribute and spray PFAS throughout Somerset and Kennebec Counties in a manner

 which would not cause Plaintiffs and the Class Members injury or harm, and Plaintiffs and the

 Class Members were foreseeable victims located within the scope of the risk created by the

 Defendants' conduct.

        144.    Defendants negligently breached their duty of care by using, emitting,

 discharging, disposing, distributing and spraying PFAS throughout Somerset and Kennebec

 Counties, by failing to take steps to minimize or eliminate the release of PFAS, by failing to

 utilize alternative procedures that would not result in the release of PFAS, by failing to institute

 proper procedures and training for response to releases of PFAS, and by using, emitting,

 discharging, disposing, distributing and spraying PFAS into a populated community.



                                                 28
    Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 29 of 35                    PageID #: 43




             145.   Defendants owed Plaintiffs and Class Members a duty of reasonable care

     commensurate with the risk of using, emitting, discharging, disposing, distributing and spraying

     PFAS.

             146.   Given the likelihood of contamination of neighboring areas and exposure to their

     residents, Defendants had a duty to investigate the extent to which PFAS used, emitted,

     discharged, disposed, distributed and sprayed throughout Somerset and Kennebec Counties was

•    likely contaminating property at levels to materially increase nearby residents' likelihood and

     risk of developing cancer and other diseases.

             147.   Defendants negligently breached their duties by, among other things:

             a.     Emitting dangerous amounts ofPFAS into the water;

             b.     Selling, distributing and spraying PFAS-containing biosolids;

             c.     Failing to employ safe methods to adequately control or eliminate PFAS

     discharge;

             d.     Failing to use alternative procedures which would not result in the discharge of

     PFAS into neighboring communities;

             e.     Failing to locate their PFAS processing to an unpopulated, or at least much less

     populated, area; and

             f.     Failing to warn neighboring residents and property owners that they were being

     exposed to PFAS and of the consequent risks of disease the residents acquired because of that

     exposure.

             148.   As a direct and proximate result of Defendants' use, emission, discharge,

     disposal, distribution and spraying of PFAS throughout Somerset and Kennebec Counties,

     Plaintiffs and the Class Members presently suffer, and will continue to suffer, real property




                                                     29
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 30 of 35                     PageID #: 44




 damage, out of pocket expense, personal property damage, loss of use and enjoyment of

 property, diminution in property value, the necessity for long-term medical monitoring,

 annoyance, upset, aggravation and inconvenience.


                                      COUNT VII
                             WILLFUL AND WANTON CONDUCT

        149.    Plaintiffs repeat, realleges, and incorporates by reference all allegations of this

 Complaint as if set forth more particularly at length here.

        150.    At all times relevant, Defendants owed a duty to refrain from willful, wanton,

 reckless and outrageous conduct and/or conduct which exhibited an utter indifference and/or

 conscious disregard to the health, safety, and well-being of Plaintiffs and those living or owning

 real property in Somerset and Kennebec Counties.

        151.    Upon information and belief, Defendants were, at all times relevant, aware that

 PFAS is highly carcinogenic, mutagenic and/or otherwise harmful to humans.

        152.    Upon information and belief, Defendants were, at all times relevant, aware of the

 considerable health risks associated with the discharge of PFAS, including the risk of causing

 various forms of cancer in the surrounding population.

        153.    Upon information and belief, Defendants were, at all times relevant, aware that

 their use, emission, discharge, disposal, distribution and spraying of PFAS throughout Somerset

 and Kennebec Counties, and the production of paper, paper pulp, and/or biosolids at the Mills,

 actually resulted in the unreasonably dangerous emission of PFAS into the surrounding

 communities.

        154.    Notwithstanding this actual knowledge, Defendants breached their duties by,

 among other things:




                                                 30
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 31 of 35                       PageID #: 45




         a.     Emitting dangerous amounts of PFAS into the water;

         b.     Selling, distributing and spraying PFAS-containing biosolids;

         c.     Failing to employ safe methods to adequately control PFAS discharge;

         d.     Failing to use alternative procedures which would not result in the discharge of

 PFAS into neighboring communities;

         e.     Failing to locate their PFAS processing facilities in an unpopulated or less

 populated area;

         f.     Failing to warn neighboring residents and property owners that they were being

 exposed to PFAS and of the consequent risks of disease the residents acquired because of that

 exposure;

         g.     Failing to take steps to minimize or eliminate the release of PFAS through

 biosolids or otherwise, by failing to utilize alternative procedures that would not result in the

 release ofPFAS; and

   .     h.     Failing to institute proper procedures and training for response to releases of toxic

 PFAS.

         155.   Defendants' failures in these and other respects in the face of actual knowledge

 regarding the risks of unreasonable PFAS discharge constitute willful, wanton, reckless and

 outrageous conduct, and demonstrates an utter indifference and/or conscious disregard to the

 health, safety, and well-being of Plaintiffs and the Class Members.

         156.   As a direct and proximate result of Defendants' willful, wanton, reckless and

 outrageous use, emission, discharge, disposal, distribution and spraying of PFAS throughout

 Somerset and Kennebec Counties, Plaintiffs and the Class Members presently suffer, and will

 continue to suffer, real property damage, out of pocket expense, personal property damage, loss




                                                 31
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 32 of 35               PageID #: 46




 of use and enjoyment of property, diminution in property value, the necessity for long-term

 medical monitoring, annoyance, upset, aggravation and inconvenience.




                                             32
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 33 of 35                     PageID #: 47




                                    REQUEST FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of all Class Members proposed in

 this Complaint, respectfully request that the Court enter judgment in their favor and against all

 Defendants as follows:

        a.     For an Order certifying the Class, as defined herein, and appointing Plaintiffs and

               their Counsel to represent the Class;

        b.     For an award of damages, including nominal and compensatory damages, as

               allowed by law and in an amount to be determined;

        c.     For an award to Plaintiffs and the Class Members in an amount sufficient to

               compensate them for real property damage, out of pocket expense, personal property

               damage, loss of use and enjoyment of property, diminution in property value, the

               necessity for long-term medical monitoring, annoyance, upset, aggravation and

               inconvenience;

        d.     For an award to fund a medical monitoring program in an amount determined just

               and reasonable;

        e.     For an award of punitive damages as allowed by law and in an amount to be

               determined;

        f.     For an award of attorneys' fees, costs, and litigation expenses, as allowed by law;

        g-     For prejudgment interest on all amounts awarded;

        h.     For injunctive and declaratory relief, under Rule 23(b)(2) and (c)(4) and as

               otherwise allowed by law, including,

                           i. Injunctive relief under Rule 23(b)(2) as necessary and appropriate to

                                establish a court-supervised program of medical monitoring for the




                                                33
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 34 of 35                       PageID #: 48




                               medically necessary diagnostic testing for the early detection of

                               illness, disease or disease process; and

                           ii. Issue certification under Rule 23(c)(4) as necessary and

                               appropriate to provide declaratory relief as to each element of each

                               cause of action alleged herein (medical monitoring, ultrahazardous

                               activity/strict   liability,   private   nuisance, public   nuisance,

                               negligence, and willful and wanton conduct).

               Such other and further relief as this Court may deem just and proper.

                                    JURY TRIAL DEMAND

       Plaintiffs demand a jury trial on all issues so triable.

                                                          Respectfully submitted,




                                                          1:4144,-
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                                                  34
Case 1:21-cv-00245-NT Document 1-1 Filed 08/25/21 Page 35 of 35      PageID #: 49




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                                     35
